Case 1:23-mi-99999-UNA Document 1124-3 Filed 04/11/23 Page 1 of 35




              EXHIBIT C
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 2
                                                              1 of 35
                                                                   34



              IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION




                                               *
LORETTA BROWNMAN, et al.,
                                               *


                                               •k
       Plaintiffs,
                                               *

                                               *
             V.

                                               *              CV 121-112
                                               ■k
KENDALL PATIENT RECOVERY U.S.,
                                               ■k
LLC, a Delaware limited
liability corporation.

       Defendant.                              *
                                               *




                                         ORDER




       Plaintiffs, 23 individuals, bring this suit against Defendant

Kendall     Patient       Recovery,      U.S. ,       LLC    ("KPR")      for     negligence,

willful      and      wanton        misconduct,             private        nuisance,          and

ultrahazardous activity/strict liability.                       (Compl., Doc. 1, at 32-

38.)    Defendant     filed      a motion      to dismiss         in     lieu   of    answering

Plaintiffs'       Complaint.        (Doc.     10. )     For   the      following       reasons.

Defendant's motion         is   GRANTED.




                                    I.   BACKGROUND


       On   July    19,    2021,    Plaintiffs          filed     their        Complaint      and

Defendant    moved    to    dismiss      it   on      September     7,    2021       (Doc.   10) .

Plaintiffs filed a response in opposition                     (Doc.      23)    and Defendant
      Case 1:21-cv-00112-JRH-BKE
           1:23-mi-99999-UNA Document
                                 Document
                                      1124-3
                                          37 Filed 04/11/23
                                                   09/23/22 Page 3
                                                                 2 of 35
                                                                      34



replied in support (Doc. 31).         Therefore, the motion has been fully

briefed and is ready for the Court's review.

        The Complaint brings four claims against Defendant for the

harm it caused Plaintiffs due to emissions of toxic ethylene oxide

("EtO").     (Compl., at 2.)    Defendant operates an industrial medical

sterilization plant in Augusta, Georgia that uses and emits EtO as

part    of its    sterilization   process.       (Id.)      Plaintiffs      state,

without citation, that EtO ""is an odorless, colorless gas that is

dangerous,      toxic,   carcinogenic,    and    mutagenic."      (Id.      at   6.)

Further, it ""is highly reactive, readily taken up by the lungs,

efficiently absorbed into the blood stream, and easily distributed

throughout the human body."        (Id.)

        Plaintiffs' claims are brought pursuant to 28 U.S.C. § 1332(a)

because the Parties are citizens of different states and the amount


in controversy exceeds $75,000.          (Id. at 4.)      All Plaintiffs lived

within 6 miles of Defendant's facility at various times from 1966

to now.     (Id. at 17-32.)     Of note, three Plaintiffs claim to have

worked ''at" or "in and around" the KPR facility.             (Id. at 28, 30.)

Plaintiffs have been diagnosed with numerous health complications

since 1988, including miscarriages and various forms of cancer.

(Id.)     Plaintiffs "consistently . . . inhaled contaminated air in

and    around    [their]   home[s],    [their]    work,    and   in   the    areas

surrounding the KPR facility" which Plaintiffs allege contained

EtO from Defendant.        (Id. at 17-32.)      Plaintiffs failed to notice
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 4
                                                              3 of 35
                                                                   34



their medical conditions were wrongfully caused or that they were

caused by Defendant's EtO emissions, and they do not allege how or

when the connection was discovered.


     Plaintiffs     now    assert   various      claims    against     Defendant.

First, they bring a negligence claim, alleging Defendant breached

its duty in ''one or more" ways.          (Id. at 32.)       Plaintiffs allege

six breaches of Defendant's duty:

            a. Emitting dangerous volumes of EtO into the
            air from its facility;
            b. Disregarding safe methods to adequately
            control EtO emissions from its facility;
            c.   Failing   to   control    and    report    fugitive
            emissions of EtO;
            d. Failing to comply with Georgia's limits on
            EtO concentrations;
            e. Failing to warn or advise those who live or
            work in the community that they were being
            exposed to EtO; and
            f. Subjecting those who live and work nearby
            its facility to an elevated cancer risk.

(Id. at 32-33.)     They state "[a]s a proximate result of one of the

aforesaid     negligent    acts     or   omissions.       Plaintiffs    suffered

injuries of a personal and pecuniary nature."              (Id. at 33.)      Next,

Plaintiffs allege willful and wanton misconduct because "Defendant

owed a duty to refrain from willful and wanton misconduct and/or

conduct which exhibited an indifference and/or conscious disregard

to the health, safety, and well-being of Plaintiffs."                (Id.)   They

list the same six alleged breaches and assert Defendant acted with

"a conscious disregard for the known dangers its EtO posed to its

neighbors."      (Id. at 34.)       Third, Plaintiffs allege a private
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 5
                                                              4 of 35
                                                                   34



nuisance claim, arguing ''Defendant's emissions of carcinogenic EtO

interfere with Plaintiffs' enjoyment of property and cause hurt,

inconvenience, or damage to Plaintiffs, including their ability to

breathe air free of a carcinogenic toxin in the air on their

property."   (Id. at 35-36.)       Finally, Plaintiffs bring a claim of

ultrahazardous activity/strict liability, arguing Defendant's use

and emission of EtO constitutes an ultrahazardous activity and

created a high degree of risk to those who live and work in the

surrounding area.     (Id. at 37-38.)        They argue that because the

actions are ultrahazardous. Defendant "is strictly liable for any

injuries proximately resulting therefrom."          (Id. at 38.)

       Defendant   moves    to   dismiss   Plaintiffs'    Complaint    for   a

variety of reasons.        (Doc. 10.)    First, it argues the Court lacks

subject matter jurisdiction over Plaintiffs' claims because their

injuries are not traceable to its conduct.         (Id. at 4-8.)      It also

moves to dismiss Plaintiff Armstrong's claims under the Workers'

Compensation Act.     (Id. at 8.)       Alternatively, Defendant moves to

dismiss for failure to state         a claim.    (Id.    at 8.)    Defendant

argues there is a two-year statute of limitations for personal

injury actions; therefore, any of Plaintiffs' claims before August

3, 2019 are time-barred and not subject to tolling.               (Id. at 9-

11.)   Additionally, it argues Plaintiffs fail to state claims for

any of the four alleged counts, and Defendant is not liable under

a theory of strict liability because Georgia does not classify
      Case 1:21-cv-00112-JRH-BKE
           1:23-mi-99999-UNA Document
                                 Document
                                      1124-3
                                          37 Filed 04/11/23
                                                   09/23/22 Page 6
                                                                 5 of 35
                                                                      34




these acts as inherently dangerous.           (Id. at 11-25.)       The Court

addresses Defendant's arguments below.




                               II. LEGAL STANDARD


        In considering a motion to dismiss under Rule 12(b)(6), the

Court tests the legal sufficiency of the complaint.                Scheuer v.

Rhodes^    416 U.S. 232, 236 (1974), overruled on other grounds by

Davis V. Scherer, 468 U.S. 183 (1984).           Pursuant to Federal Rule

of Civil Procedure 8(a)(2), a complaint must contain ""a short and

plain statement of the claim showing that the pleader is entitled

to relief" to give the defendant fair notice of both the claim and

the supporting grounds.         Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555    (2007).     Although ''detailed    factual    allegations" are        not

required. Rule 8 "demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation."            Ashcroft   v.   Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 555).

       A plaintiff's pleading obligation "requires more than labels

and conclusions, and a formulaic recitation of the elements of a

cause of action will not do."           Twombly, 550 U.S. at 555.           "Nor

does a complaint suffice if it tenders 'naked assertions' devoid

of 'further factual enhancement.'" Iqbal, 556 U.S. at 678 (quoting

Twombly,     550   U.S.   at   557).   The   Court   need    not   accept    the

pleading's legal conclusions as true, only its well-pleaded facts.

Id. at 677-79.       Furthermore, "the court may dismiss a complaint
      Case 1:21-cv-00112-JRH-BKE
           1:23-mi-99999-UNA Document
                                 Document
                                      1124-3
                                          37 Filed 04/11/23
                                                   09/23/22 Page 7
                                                                 6 of 35
                                                                      34



pursuant to [Rule 12(b)(6)] when, on the basis of a dispositive

issue of law, no construction of the factual allegations will

support the cause of action."                    Marshall Cnty. Bd. of Educ. v.

Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993)

(citing Exec. 100, Inc. v. Martin Cnty., 922 F.2d 1536, 1539 (11th

Cir. 1991)).




                                    III. DISCUSSION


       The    Court   first    addresses         Defendant's   argument    regarding

subject      matter   jurisdiction         and    then   addresses its    additional

grounds for dismissal.

A. Subject Matter Jurisdiction

        First,    Defendant        argues   the     Court   lacks    subject   matter

jurisdiction over Plaintiffs' claims because the "Complaint does

not plausibly show that their alleged injuries are attributable to

EtO    emissions      at    all,    much    less    [Defendant's]     conduct,"   and

speculation       does     not satisfy the traceability             requirements for

standing.        (Doc. 10, at 4, 8.)         Defendant argues "Plaintiffs rely

on a speculative chain of possibilities to reach the unsupported

conclusion that their alleged injuries are actually traceable to

[Defendant's] conduct, rather than something else."                       (Id. at 4-

5.)     Overall, Defendant asserts Plaintiffs lack standing because

they "offer only speculation that (1) their injuries were caused

by EtO and (2) any EtO that caused their injuries was emitted by
      Case 1:21-cv-00112-JRH-BKE
           1:23-mi-99999-UNA Document
                                 Document
                                      1124-3
                                          37 Filed 04/11/23
                                                   09/23/22 Page 8
                                                                 7 of 35
                                                                      34



[Defendant]." (Id. at 7.)            Defendant argues Plaintiffs' referenced

studies "contradict those conclusory allegations and show that

their     alleged    injuries      not   only    could       have   been,    but    were

statistically       much    more     likely    to     have    been,   caused       by    an

independent source or a third party."                 (Id.)

       In response. Plaintiffs assert that "to establish Article III

standing at the pleading stage" in harmful emission cases, they

"need only allege that Defendant discharges a pollutant into the

community that causes or contributes to the kinds of injuries they

suffered."      (Doc. 23, at 2.)         They rely on various precedents to

argue Article III traceability is a "low bar" in these types of

cases.     (Id. at 5-8.)      Defendant rebuts these assertions, arguing

Plaintiffs'       standard      "is      not    the     standard      for    pleading

traceability in the context of harmful emissions.                       This is the

standard for pleading traceability in the context of citizen suits

under the Clean Water Act C'CWA'')                  (Doc. 31, at 2 (emphasis in

original)).       Defendant argues all the cases Plaintiffs cite for

the "low-bar" traceability standard involve the CWA or Clean Air

Act    ("CAA"),     not   personal    injury    claims,       and   those   cases       are

materially distinct from the case at hand - one in which courts

require a higher showing of traceability.                    (Id. at 3-4.)

       Standing is an essential, limiting aspect on the power of the

federal courts.       Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016).

Only plaintiffs who "have (1) suffered an injury in fact, (2) that
     Case 1:21-cv-00112-JRH-BKE
          1:23-mi-99999-UNA Document
                                Document
                                     1124-3
                                         37 Filed 04/11/23
                                                  09/23/22 Page 9
                                                                8 of 35
                                                                     34




is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial

decision" have standing to sue.            Id. at 338 (citing Lujan v. Defs.

of   Wildlife,     504   U.S.   555,   560-61    (1992)).     Here,   the   second

element, traceability, is contested.

      ''The traceability prong means it must be likely that the

injury was caused by the conduct complained of and not by the

independent action of some third party not before the court."

Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204

F.3d 149,    154    (4th Cir.     2000).     "The     plaintiff, as the      party

invoking federal jurisdiction, bears the burden of establishing

these    elements."      Spokeo,   578   U.S.    at   338   (citation   omitted).

"[A]t the pleading stage, the plaintiff must 'clearly . . . allege

facts demonstrating' each element."              Id. (citation omitted).

        Citing CWA and CAA cases. Plaintiffs assert they must only

satisfy a low bar for traceability.             (Doc. 23, at 6-8 (citing Black

Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng'rs, 781 F.3d

1271 (11th Cir. 2015); Jones Creek Invs., LLC v. Columbia Cnty.,

98 F. Supp. 3d 1279 (S.D. Ga. 2015); New Manchester Resort & Golf,

LLC V. Douglasville Dev., LLC, 734               F. Supp. 2d 1326 (N.D. Ga.

2010)).     However, Defendant is correct in arguing that in these

types of cases, "Congress authorized any person with 'an interest

which is or may be adversely affected' to bring a civil suit to

correct violations of the CWA" and "gave citizens the right to



                                         8
     Case
     Case 1:23-mi-99999-UNA
          1:21-cv-00112-JRH-BKE
                             Document
                                 Document
                                      1124-3
                                          37 Filed
                                              Filed04/11/23
                                                    09/23/22 Page
                                                             Page10
                                                                  9 of
                                                                    of 34
                                                                       35



protect intangible ^interests' in the environment."                      (See Doc. 31,

at 3-4 (citing 33 U.S.C. § 1365(g); Friends of the Earth, Inc. v.

Laidlaw    Env't   Servs., Inc., 528           U.S.   167,     182    (2000)).)       The

Eleventh Circuit recognized as much in Black Warrior Riverkeeper,

where it found allegations of aesthetic harm, recreational harm,

and threat to Plaintiffs' members "health by drinking water . . .

[fell] within the zone of interests contemplated by the CWA and

[the National Environmental Policy Act ("NEPA")]."                       Black Warrior

Riverkeeper, 781 F.3d at 1280.

       As Defendant argues, "Plaintiffs are not suing to protect

intangible interests in the environment or to enforce federal law.

They are suing to recover for alleged bodily injuries."                      (Doc. 31,

at   4.)     Therefore,      Defendant     argues     the     facts    in    this    case

differentiate it from those which warrant the low-bar traceability

standard     called    for   in    CWA   and   CAA    cases.         (Id.)    Further,

Defendant     argues   Plaintiffs fail to            allege    their     injuries     are

fairly     traceable   to    its   conduct     because      the   link    between     its

conduct and their injuries is too attenuated.                     (Doc. 10, at 4.)

As it argues, "Plaintiffs simply have not alleged facts supporting

an inference that alleged emissions from [Defendant's] facility

caused them any exposure above background levels of EtO."                           (Doc.

31, at 6.)

       The Court agrees the traceability standard utilized in CWA

and CAA cases is materially distinct from the standard utilized in
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 11
                                                              10 of 35
                                                                    34




tort cases.     As stated by a sister court deciding a tort case in

this circuit, ''the [CWA and CAA] cases Plaintiffs rely upon for

this proposition are not binding on this Court [in this context]

and   all   concern   the    discharge       by   one    or     two     defendants    of

pollutants into waterways."          Coffie v. Fla. Crystals Corp., 460 F.

Supp. 3d 1297, 1305 (S.D. Fla. 2020) (citations omitted).                      The low

bar of traceability required to establish CWA and CAA standing is

different than the traditional level of traceability required in

tort cases, like this harmful emissions case.                   Compare Adinolfe v.

United Tech. Corp., 768 F.3d 1161, 1164 (11th Cir. 2014) (finding

a plaintiff's injuries fairly traceable in the tort context where

"the plaintiffs claimed [defendant's] chemicals migrated to [the

subject property where they resided] via                  the southward-flowing

aquifer     underlying    both     [defendant's]        plant     and    [plaintiffs'

property],"     among      other     allegations)         with        Black    Warrior

Riverkeeper, 781 F.3d at 1280 (analyzing whether that plaintiff's

claims fell "within the zone of interests contemplated by the CWA

and NEPA"); Jones Creek Invs., 98 F. Supp. 3d at 1298 (enumerating

the   traceability       requirements    "in      a     [CWA]    case");      and    New

Manchester Resort & Golf, 734 F. Supp. 2d at 1333-34 (same).                         For

tort cases in which Congress has not specially provided a lower

standard of traceability, the Court is not empowered to utilize

the lower bar it has authorized for cases in a different context.




                                        10
  Case 1:21-cv-00112-JRH-BKE
       1:23-mi-99999-UNA Document
                             Document
                                  1124-3
                                      37 Filed 04/11/23
                                               09/23/22 Page 12
                                                             11 of 35
                                                                   34




As such, for this toxic tort case, the Court must utilize the

traditional standard for traceability.

     To     satisfy    the    traditional   traceability    requirement.

Plaintiffs must allege injuries that are "fairly traceable" to

Defendant's actions.         Spokeo, 578 U.S. at 338.      "[I]t must be

likely that the injury was caused by the conduct complained of and

not by the independent action of some third party not before the

Court."   Gaston Copper Recycling Corp., 204 F.3d at 154 (citation

omitted).    Although proving causation is not required at the motion

to dismiss stage, "there must be a causal connection between the

injury and the conduct complained of - the injury has to be fairly

traceable to the challenged action of the defendant, and not the

result of the independent action of some third party."        Lujan, 504

U.S. at 560-61 (alterations adopted and citation and quotations

omitted); see also Debernardis v. IQ Formulations, LLC, 942 F.3d

1076, 1088 (11th Cir. 2019) ("To establish standing, a plaintiff

must allege that her injury is fairly traceable to the challenged

conduct of the defendant.         Under this requirement, the line of

causation between the alleged conduct and the injury must not be

too attenuated." (citations and quotations omitted)).

     In this case. Plaintiffs allege the census tract in which

Defendant's facility is located has a heightened potential cancer

risk of 64 parts per one million due to exposure of air toxins.

(Compl., at 13.)      Further, they allege they have lived, worked, or



                                    11
     Case 1:21-cv-00112-JRH-BKE
          1:23-mi-99999-UNA Document
                                Document
                                     1124-3
                                         37 Filed 04/11/23
                                                  09/23/22 Page 13
                                                                12 of 35
                                                                      34



gone to school near Defendant's facility for extended periods of

time.     (Id. at 17-32.)      They allege they ''inhaled contaminated

air" in and around their home, work, and in the areas surrounding

Defendant's facility and "[a]s a result," were diagnosed                          with

various health conditions.        (Id.)

        Even accepting all of Plaintiffs' allegations as true, all

but three Plaintiffs' injuries cannot be plausibly traced to this

Defendant's     emissions.      Plaintiffs        describe    the    Augusta-area

census tract with elevated EtO emissions that raise the                     rate    of


medical conditions like theirs; they also plead they lived or went
                                                     ]


to school or       work in    the area      around 'the facility.              (Id.)

Crucially,     however.    Plaintiffs      fail    to    allege     their     homes,

schools, and workplaces were actually within the census tract with

the heightened risk of medical conditions due to EtO.                       Instead,

they vaguely allege they inhaled air in and around their home,

school, workplace, and in the Augusta area.                  (Id.)    Nowhere do

Plaintiffs allege they resided, worked, or went to school within

the elevated-risk census tract or in any other particular concrete

area in which Defendant caused elevated EtO emission levels.                        To


allow Plaintiffs to proceed without any allegations of how far

Defendant's pollution stretched (even if only to their front doors)

would be to allow any Augusta-area resident - indeed, any resident

of   an   indefinite   area   surrounding     Defendant's         plant,     to    sue

Defendant for its EtO emissions.             Those injuries could not be



                                      12
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 14
                                                              13 of 35
                                                                    34



fairly   traced   to    this     Defendant's      emissions.     Without   more

information - even just slightly more than a threadbare allegation

that   Defendant's     EtO    emissions    reached   Plaintiffs'   residences,

offices, or schools - Plaintiffs have failed to provide facts that

would allow the plausible inference that their injuries are fairly

traceable to Defendant's activities.              Article III requires more

than a claim of exposure merely because Plaintiffs live or work

near a source of pollution; Plaintiffs must at least plead facts

allowing the Court to plausibly find their injuries were fairly

traceable to Defendant's alleged emissions.               In all, the Court

finds traceability is too speculative and attenuated to establish

standing in this case because there is no evidence Plaintiffs were

ever even within the area of heightened risk.

       However, three        exceptions    exist to this finding.       First,

Plaintiff Sabrina Watkins alleges she ''worked in or around the KPR

facility" between 2000 and 2004.               (Id. at 30.)    Plaintiff Susan

Kelly alleges she "worked in or around the KPR facility" between

1989 and 2003."      (Id.)      And Plaintiff Alopecia Armstrong "worked

at the KPR facility" between 1990 and 1997."             (Id. at 24.)      These

Plaintiffs have claimed they worked within the designated census

tract where Defendant's facility sits - specifically, they claim

they spent years inside or around the facility itself.               In these

instances, the Court finds these Plaintiffs' injuries are fairly

traceable to Defendant's alleged conduct; therefore. Plaintiffs



                                          13
  Case 1:21-cv-00112-JRH-BKE
       1:23-mi-99999-UNA Document
                             Document
                                  1124-3
                                      37 Filed 04/11/23
                                               09/23/22 Page 15
                                                             14 of 35
                                                                   34




Watkins,     Kelly,      and   Armstrong      {hereinafter         the    ''Remaining

Plaintiffs") have standing to pursue their claims.

      In sum, all of the          Plaintiffs except Plaintiffs Watkins,

Kelly,     and    Armstrong     lack    standing,      and    their       claims    are

accordingly DISMISSED WITHOUT PREJUDICE.               The Court will address

Defendant's      other     grounds     for    dismissal      for    the     Remaining

Plaintiffs.


B. Failure to State a Claim


      Defendant moves to dismiss the Remaining Plaintiffs' claims

under Rule 12(b)(6) for failure to state a claim.                        (Doc. 10, at

8.)   The Court will first address Defendant's arguments below.

      1. Statute of Limitations


      First, Defendant argues Plaintiffs' claims are barred by the

two-year     statute     of limitations.        (Id.   at    9-11.)        Plaintiffs

believe the discovery rule applies and therefore their claims are

not barred.      (Doc. 23, at 20-23.)

      This is a diversity action, so the Court must apply Georgia's

statute of limitations to determine whether Plaintiffs' Complaint

is timely.       See Cambridge Mut. Fire Ins. Co. v. City of Claxton,

720   F.2d    1230,    1232    (11th   Cir.    1983)   ("[S]tate         statutes    of

limitations are substantive laws and must be followed by federal

courts in diversity actions." (citation omitted)).                        Georgia law

provides "actions for injuries to the person shall be brought

within two       years after the       right of action        accrues . . . ."



                                         14
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 16
                                                              15 of 35
                                                                    34



O.C.G.A. § 9-3-33; see also Adair v. Baker Bros., Inc., 366 S.E.2d

164, 165 (Ga. Ct. App. 1988) {"[A]n action to recover for personal

injuries is, in essence, a personal injury action, and, regardless

of whether it is based            upon      an   alleged   breach    of an implied

warranty or is based upon an alleged tort, the limitations statute

governing actions for personal injuries is controlling."); Daniel

V. Am. Optical Corp., 304 S.E.2d 383 (Ga. 1983) (holding that

O.C.G.A. § 9-3-33 applies to personal injury actions brought under

theories of strict liability and negligence).

      The     remaining,    traceable        claims     are   for    the    following

injuries: Plaintiff Armstrong's breast cancer in 2007; Plaintiff

Kelly's lump removal in her right breast in 1997, colon cancer in

2016, a uterine tumor in 2020, and two miscarriages at unknown

times; and Plaintiff Watkins's five miscarriages between 1999 and

2017.     (Compl., at 24, 30-31.)                Under the discovery rule, ''[a]

cause of action will not accrue . . . until the plaintiff discovers

or in the exercise of reasonable diligence should have discovered

not only that [s]he has been injured but also that [the] injury

may   have    been   caused      by   the   defendant's       conduct."         King   v.

Seitzinqers,       Inc.,   287    S.E.2d     252,    254   (Ga.    Ct.   App.    1981).

However, this rule only applies for continuing torts.                       M.H.D. v.

Westminster Schs., 172 F.3d 797, 804-05 (11th Cir. 1999) (''[I]n

Georgia      the   discovery     rule    only      applies    to    cases   involving

^continuing torts,' where the plaintiff's injury developed from



                                            15
      Case 1:21-cv-00112-JRH-BKE
           1:23-mi-99999-UNA Document
                                 Document
                                      1124-3
                                          37 Filed 04/11/23
                                                   09/23/22 Page 17
                                                                 16 of 35
                                                                       34




prolonged exposure to the defendant's tortious conduct." (citation

omitted)).       Because    the   Remaining        Plaintiffs     allege   they    were

exposed to EtO emissions for years which ultimately caused their

injuries, the Court will assume they suffered from continuing

torts.


        The Remaining Plaintiffs' injuries, respectively, occurred in

2007; 1997, 2016, and 2020; and between 1997 and 2017.                      (Compl.,

at 24, 30-31.)        These were accordingly the times each Remaining

Plaintiff      discovered    each     respective         injury.        However,     no

Remaining      Plaintiff    alleges    when        she    actually     realized     her

injuries     were   wrongfully    caused      or    caused   by     Defendant's     EtO

emissions - instead, they simply state 'Ma]t the time of [the]

diagnosis, [Plaintiffs] did not have notice that [their] medical

condition     was   wrongfully    caused     or    that it      was   caused    by the

Defendant's emission of [EtO]."              (Id.)       Plaintiffs do not allege

how    they "'discovered" this        link, or       when    they     discovered    it.

Defendant argues "a bare allegation that a plaintiff "could not

have reasonably learned' of the facts on which [her] claim was

based,     "without   more, is insufficient to satisfy the                     pleading

requirements as to tolling.'"           (Doc. 31, at 11 (quoting Patel v.

Diplomat 1419VA Hotels, LLC, 605 F. App'x 965, 966 (11th Cir.

2015)).      Plaintiffs cite to Dollar v. Monsanto Co., No. 2:20-cv-

78, 2021 WL 2300788, at *4 (S.D. Ga. June 4, 2021) in support of

their tolling argument, noting that in Dollar, the Court "den[led



                                        16
  Case 1:21-cv-00112-JRH-BKE
       1:23-mi-99999-UNA Document
                             Document
                                  1124-3
                                      37 Filed 04/11/23
                                               09/23/22 Page 18
                                                             17 of 35
                                                                   34




a] motion to dismiss where plaintiff alleged she did not know that

husband's death was caused by exposure to Defendant's products

until one year before suit."           (See Doc. 23, at 22.)            Importantly,

Plaintiffs ignore that the Dollar plaintiff alleged she                        Mid not

know, nor through the exercise of reasonable diligence should she

have    known    or    discovered'    that      [her]   injuries     were   caused    by

exposure to Defendant's . . . products."                   2021 WL 2300788, at *5.

        Pursuant to the discovery rule in Georgia, the statute of

limitations will not run until Plaintiffs                    knew, or through the

exercise of reasonable diligence should have discovered, not only

their    injuries       but   also   the   causal       connection    between    their

injuries and the negligent conduct.                  See King, 287 S.E.2d at 255.

Therefore, tolling would be appropriate if Plaintiffs alleged they

could not have known prior to July 19, 2019 that their injuries

were caused by Defendant.             However, the Complaint simply states

Plaintiffs 'Mid not have notice that [their] medical condition[s]

[were] wrongfully caused or that [they were] caused by Defendant's

emissions       of    [EtO]."   (Compl.,        at   24,   30-31.)     There    are   no

allegations that reasonable diligence could not have uncovered the

cause of Plaintiffs' injuries.                  In Plaintiffs' response to the

motion to dismiss, they argue "there's no indication - certainly

nothing apparent from the face of the complaint - that they knew

or should have known that Defendant's EtO emissions were the cause


of [their injuries] at the time."                    (Doc. 23, at 22.)         That is



                                           17
     Case 1:21-cv-00112-JRH-BKE
          1:23-mi-99999-UNA Document
                                Document
                                     1124-3
                                         37 Filed 04/11/23
                                                  09/23/22 Page 19
                                                                18 of 35
                                                                      34



precisely the problem; there is no explanation or allegation that

Plaintiffs     could      not    have     discovered      the    alleged       linkage    to

Defendant     with     reasonable         diligence.            Furthermore,        it    is

Plaintiffs' responsibility to demonstrate tolling is appropriate.

See Patel, 605 F. App'x at 966 (11th Cir. 2015} (''[T]he statute of

limitations bars [plaintiff's] claims unless [plaintiff] alleged

facts supporting tolling of the statute of limitations.")                            Based

on this, the Court finds the statute of limitations has run on the

Remaining Plaintiffs' tort claims except for                          Plaintiff Kelly's

diagnosis of a uterine tumor in 2020.                  (Compl., at 31.)          Since the

action was filed in July 2021, an injury from 2020 falls within

the two-year statute of limitations.

       The Court also notes Plaintiffs' argument that '"the statute

of   limitations     on   a     continuous      tort   claim    is    tolled     until   the


plaintiff's exposure to the ongoing hazard ends — either through

defendant's abatement of it, defendant's warning plaintiff of it,

or   plaintiff's     removal       from    it."        (Doc.    23,    at   22   (citation

omitted).)     Plaintiffs accordingly claim that "for the Plaintiffs

who continue to live near Defendant's facility, the statute of

limitations hasn't even started running, regardless of when their

claims accrued."          (Id. at 23.)          This argument fails because, as

described above. Plaintiffs' claims are only traceable to their

employment in or at the Defendant's facility; their claims for

living "near" the          facility       are    not    sufficiently        traceable    to



                                            18
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 20
                                                              19 of 35
                                                                    34



Defendant.     The continuous exposure, then, ended for Plaintiff

Armstrong in 1997, for Plaintiff Watkins in 2004, and for Plaintiff

Kelly in 2003.      (Compl., at 24, 30-31.)        The two-year statute of

limitations for continuous torts accordingly started to run as of

those dates.


       In sum. Plaintiffs' claims - with the exception of Plaintiff

Kelly's claim resulting from her 2020 uterine cancer diagnosis -

are barred by the statute of limitation and are hereby DISMISSED.^

       2. Failure to State a Claim


       The only remaining claim is Plaintiff Kelly's 2020 diagnosis

of a uterine tumor.      (Compl., at 31.)      Plaintiff Kelly alleges she

worked ""in and around" Defendant's facility between 1989 and 2003.

(Id. at 30.)    She brings claims for negligence, willful and wanton

misconduct,    private     nuisance,    and   strict   liability   based   on

ultrahazardous activity.         (Id. at 32-38.)       The Court addresses

each claim below, and notes that from this point forward, the Court

will refer to Plaintiff Kelly simply as ""Plaintiff."

             a. Negligence

       First, Plaintiff brings a claim for negligence.         (Compl., at

32.)    She alleges ^^Defendant owed a duty to exercise reasonable

care in the operation of its facility, including the emission of




^ Because Plaintiff Armstrong's claims are barred under the statute of
limitations and Plaintiff alleges she was exposed to the EtO outside work as
well, the Court does not address Defendant's argument regarding the Workers'
Compensation Act.   (See Doc. 10, at 8; Doc. 23, at 23-24.)



                                       19
     Case 1:21-cv-00112-JRH-BKE
          1:23-mi-99999-UNA Document
                                Document
                                     1124-3
                                         37 Filed 04/11/23
                                                  09/23/22 Page 21
                                                                20 of 35
                                                                      34




EtO."     (Id.)   She claims ''Defendant breached its duty in one of

more of the" six ways listed above, which the Court repeats for

ease of reference:


             a. Emitting dangerous volumes of EtO into the
             air from its facility;
             b. Disregarding safe methods to adequately
             control EtO emissions from its facility;
             c. Failing to control and report fugitive
             emissions of     EtO;
             d. Failing to comply with Georgia's limits on
             EtO concentrations;
             e. Failing to warn or advise those who live or
             work in the community that they were being
             exposed to EtO; and
             f. Subjecting those who live and work nearby
             its facility to an elevated cancer risk.

(Id. at 32-33.)        She claims she was injured "[a]s a proximate

result of one of the aforesaid negligent acts or omissions."               (Id.

at 33.)

       To state a cause of action for negligence in Georgia,
       the following elements are essential: (1) a legal duty
       to conform to a standard of conduct raised by the law
       for the protection of others against unreasonable risks
       of harm; (2) a breach of this standard; (3) a legally
       attributable causal connection      between the conduct and
       the resulting injury; and (4) some loss or damage flowing
       to the plaintiff's legally protected interest as a
       result of the alleged breach of the legal duty.

Johnson    v.   Wal-Mart Stores    East, LP,   No.   CV   617-003,   2018    WL

3863530, at *3 (S.D. Ga. July 30, 2018) (citing Bradley Ctr., Inc.

V.   Wessner, 296 S.E.2d      693 (Ga. 1982)).       Defendant challenges

Plaintiff's assertions on each of these elements, and the Court

will address them in turn.




                                      20
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 22
                                                              21 of 35
                                                                    34




        First, Defendant argues Plaintiff was not owed any duty by

Defendant, so it cannot satisfy the first element of negligence.

(Doc.    10,    at     12-15.)         Specifically,      it    argues    the    factual

allegations       in     the        Complaint    do     not    support    Plaintiff's

allegations      that     Defendant ''[f]ail[ed]          to    control    and    report

fugitive       emissions       of    EtO"   because     "Plaintiff[]      do[es]     not

identify any control or reporting requirements that exist for such

emission, much less with which [Defendant] failed to comply." (Id.

at 12-13 (citing Compl., at 32).)                 Defendant argues the Plaintiff

does not support her allegations that Defendant "fail[ed] to comply

with Georgia's limits on EtO concentrations" because Plaintiff

"do[es] not identify any legal limits that [Defendant] exceeded at

any time."        (Id.)        Defendant also argues "[e]ven assuming EtO

caused Plaintiff[^s] injuries, such harm was not foreseeable based

on contemporary information, and [Defendant] did not have a duty

to protect against an unforeseeable harm."                     (Id. at 14-19.)

     "Negligence is premised on, among other things, a duty owed

by the defendant to the plaintiff."                   Dep't of Labor v. McConnell,

828 S.E.2d 352, 358 (Ga. 2019).                  Defendant does not owe a legal

duty "to all the world not to subject others to an unreasonable

risk of harm."         Id. at 816 (alteration omitted); see also Baker v.

G4S Secure Solutions (USA) Inc., No. 4:18-cv-267, 2020 WL 5096520,

at *4 (S.D. Ga. Aug. 28, 2020).                 Rather, "a legal duty sufficient

to support liability in negligence is either a duty imposed by a



                                            21
    Case 1:21-cv-00112-JRH-BKE
         1:23-mi-99999-UNA Document
                               Document
                                    1124-3
                                        37 Filed 04/11/23
                                                 09/23/22 Page 23
                                                               22 of 35
                                                                     34




valid statutory enactment of the legislature or a duty imposed by

a   recognized    common    law   principle       declared   in   the   reported

decisions of [Georgia's] appellate courts."             Putt v. Mannar & Co.^

841 S.E.2d 132, 134 (Ga. Ct. App. 2020) (citation and quotation

omitted), cert, denied (Nov. 2, 2020); see also Rasnick v. Krishna

Hosp., Inc., 713 S.E.2d 835, 837 (Ga. 2011) (A ''duty can arise

either from a valid legislative enactment, that is, by statute, or

be imposed by a common law principle recognized in the caselaw".)

Regarding foreseeability, "it is not necessary that [Defendant]

should have been able to anticipate the particular consequences

which ensued [from the alleged tort]"; rather, "[i]t is sufficient

if, in ordinary prudence, [Defendant] might have foreseen that

some injury would result from [its] act or omission, and that

consequences     of   a   generally   injurious      nature   might     result."

Johnson v. 3M, 563 F. Supp. 3d 1253, 1321 (N.D. Ga. 2021) (citing

Sims V. Am. Cas. Co., 206 S.E.2d 121, 127 (Ga. Ct. App. 1974));

see also Ellington v. Tolar Constr. Co., 227 S.E.2d 336, 339 (Ga.

1976) ("Negligence consists of exposing another to whom one owes

a   duty,   or   exposing   oneself,   to     a    foreseeable    unreasonable

probability of harm.")

      Plaintiff claims Defendant owed her several duties.                 First,

she alleges Georgia courts have recognized that "[a]s a general

matter, 'the possessor of land has a duty of reasonable care for

conduct on the land that poses a risk of physical harm to persons



                                      22
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 24
                                                              23 of 35
                                                                    34




not on the land.'"^          (Doc. 23, at 10 {quoting Restatement 3d of

Torts: Physical & Emotional Harm § 54(a)) (alterations adopted).)

She also cites Howell Gas of Athens, Inc. v. Coile, 146 S.E.2d

145,    149   (Ga.   Ct.    App.    1965)      for    the    proposition       that ''[a]

landowner     who,    himself      or   by     others       under    his    direction   or

permission, negligently or unskillfully performs an act on his

premises which may and does inflict injury on an adjoining owner

is liable for the damage so caused."                        (Doc. 23, at 10.)           She

accordingly claims that ""one using dangerous chemicals on their

property - like Defendant here - has ^a duty to exercise reasonable

care in their use and disposal of the chemicals so as to avoid

injury to those nearby."           (Id. (citing Johnson, 563 F. Supp. 3d at

1324).)       Second,      Plaintiff     claims       Defendant's          foreseeability

argument fails because "the risks of cancer and miscarriages from

EtO emissions were foreseeable to Defendant."                       (Id. at 12.)   Third,

she    argues "Defendant      does      not       dispute    that    its    sterilization

facility has exceeded Georgia's Acceptable Ambient Concentration

[("AAC")] for        [EtO]," and        that      "even     assuming    that    Defendant




2 Defendant points out that Plaintiff does not assert this duty in her Complaint.
(Doc. 31, at 13.)    It claims "Plaintiff[] attempt[s] to cure the deficiencies
in [her] Complaint by identifying a new duty in [her] response brief: a duty of
reasonable care in the use and disposal of chemicals."      (Doc. 31, at 13.)
"However, Plaintiff[] cannot amend the Complaint by argument in [her] response
brief." Id.    Defendant thus asks the Court to ignore the argument.    In her
Complaint, Plaintiff simply alleges "Defendant owed a duty to exercise
reasonable care in the operation of its facility." (Compl., at 32.) The Court
will assume, arguendo, that Plaintiff sufficiently pled this duty in her
Complaint, ultimately finding that even considering this newly asserted duty.
Defendant is still entitled to judgment as a matter of law.



                                             23
  Case 1:21-cv-00112-JRH-BKE
       1:23-mi-99999-UNA Document
                             Document
                                  1124-3
                                      37 Filed 04/11/23
                                               09/23/22 Page 25
                                                             24 of 35
                                                                   34



complied          with    all   governmental       regulations      regarding         EtO

emissions,         regulatory     compliance       is   not   a   free     pass   from

liability."         (Id.)

     The Court again notes ''[t]he Georgia Supreme Court [recently]

held that there is no general legal duty ^to all the world not to

subject others to an unreasonable risk of harm.'"                   Johnson, 563 F.

Supp.    3d       at 1320   (quoting   McConnell,       828   S.E.2d     at 358   n.4)

(alterations omitted).            And it is Plaintiff s duty to allege the

elements of negligence.            Joyner v. Lifeshare Mgmt. Grp., LLC, No.

CV 417-174, 2018 WL 6092743, at *3 (S.D. Ga. 2018) (^^In order to

sustain       a   claim   for   negligence,    a    plaintiff     must    be   able    to

establish Ml) a legal duty . . . .'")

        Here, Plaintiff claims Defendant had a duty, as the possessor

of land, "'to persons . . . not on the land."                     (Doc. 23, at 10

(citation omitted).)            But as the Court noted above. Defendant has

no duty to the world at large.           Plaintiff tries to rely on Johnson

for the proposition that a company using dangerous chemicals on

its property has a duty to exercise reasonable care in the use and

disposal of such to avoid injury to those nearby.                        (Id. (citing

Johnson, 563 F. Supp. 3d at 1324).)                However, Defendant correctly

points out that the Johnson decision explicitly drew on a long

history of Georgia common law that ""recognize[s] a duty not to

engage in conduct that will result in pollution of state waters

(including non-navigable streams) rendering them unfit for their



                                         24
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 26
                                                              25 of 35
                                                                    34



ordinary purposes by downstream users."                   Johnson, 563 F. Supp. 3d

at 1321 (citations omitted) (emphasis added).                     The Johnson court

cited six Georgia appellate cases that describe the common law

duty, as well as ''Georgia's statutory scheme which provides that

pollution of a stream is a trespass."                     Id. at 1321-22.         Here,

Plaintiff     does    not     cite    to   a    single    Georgia    appellate        case

outlining a common law duty to be free from air pollution, and her

claim that        Defendant    owes   a    duty to     her    because    it   allegedly

pollutes the air around its facility proves too much.

       As to Plaintiff's allegations that                  Defendant "fail[ed] to

control and report fugitive emissions of EtO" and "fail[ed] to

comply with Georgia's limits on EtO concentrations," she argues

Defendant does not dispute its facility exceeded Georgia's AAC for

EtO.    (Compl., at 32; Doc. 23, at 12.)                  Plaintiff alleges "[t]he

AAC    is   the   maximum     allowable        air   concentration       of   toxic    air


pollutants like [EtO]," and the annual AAC for EtO is ".00033

pg/m^" while the highest ground level concentration of EtO around

Defendant's facility was .0618 pg/m^ - over 187 times the AAC.

(Compl.,     at    16-17.)      Defendant        argues      Plaintiff    "do[es]      not

identify any legal limits that [Defendant] exceeded at any time,"

specifically arguing that "Plaintiff[] omit[s] that the AAC is not

a regulatory limit on EtO emissions, but only part of a guidance

document used by the [Georgia Environmental Protection Division]

in evaluating permit applications."                  (Doc. 10, at 13.)        Plaintiff



                                           25
  Case 1:21-cv-00112-JRH-BKE
       1:23-mi-99999-UNA Document
                             Document
                                  1124-3
                                      37 Filed 04/11/23
                                               09/23/22 Page 27
                                                             26 of 35
                                                                   34




cites Adinolfe, 768 F.3d at 1174 for the proposition that ''while

the applicable regulatory standard may be instructive for a trier

of fact as evidence of what the government deems safe for the

public,   it    does        not    amount     to      an    all-purpose        benchmark       for

determining      as    a    matter       of   law     how       much    one   can     reasonably

[pollute],      much       less    a    threshold          issue    that      plaintiffs      must

preemptively address at the pleading stage.''                           (Doc. 23, at 12.)

      While     Plaintiff         utilizes      the       AAC    standard,      she    makes    no

allegation it is a statutory limit on emissions.                           Her cited Georgia

case. Assoc. Health Sys., Inc. v. Jones, 366 S.E.2d 147 (Ga. Ct.

App. 1988) holds that "compliance with a legislative enactment

will not prevent a finding of negligence where a reasonable person

would have taken additional precautions."                              (Doc. 23, at 12 n.4

(emphasis added).)                But Plaintiff has              not shown      the AAC is a

legislative enactment.                 Therefore, it does not create a duty in

Georgia, where duties are those "imposed by a valid statutory

enactment of the legislature or . . . imposed by a recognized

common    law    principle          declared         in    the     reported     decisions       of

[Georgia's] appellate courts."                  Dutt, 841 S.E.2d at 134.              Moreover,

Plaintiff's cited cases do not stand for exactly the proposition

she   claims.         The    cases       hold    regulatory            compliance      does    not

necessarily show a defendant has not breached its duty; the cases

do not hold that a regulation, by itself, can create such a duty.

Indeed, the ability of a plaintiff to defeat a negligence claim by



                                                26
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 28
                                                              27 of 35
                                                                    34



showing compliance with a regulatory standard would actually be

evidence that the regulatory standard creates a duty - the fact

that compliance with a regulation cannot defeat breach of a duty

illustrates the regulation does not, without more, create a duty

on its own.      Accordingly, Plaintiff fails to assert a duty owed by

Defendant, and her negligence claim fails as a matter of law.

           b. Willful and Wanton Misconduct


       Next,   Plaintiff      makes     a    claim      for   willful       and   wanton

misconduct, in which she alleges ""Defendant owed a duty to refrain

from willful and wanton misconduct and/or conduct which exhibited

an indifference and/or conscious disregard to the health, safety,

and well-being of Plaintiff[] and those living and working in the

area surrounding its facility.'' (Compl., at 33.)                   Plaintiff claims

Defendant breached its duty in the same six                        ways it allegedly

committed negligence.         (Id. at 33-34.)           Lastly, Plaintiff asserts

""Defendant acted in a way that shows a conscious disregard for the

known dangers its EtO posed to its neighbors."                     (Id. at 34.)        She

claims Defendant ""knew of the specific dangers associated with EtO

exposure, knew of the regulatory regime built up around it because

it was so noxious, but nevertheless emitted thousands of pounds of

it into the air around Plaintiff[ "s] home[]."                      (Id.)    Plaintiff

also   asserts    Defendant    failed       to   warn   her   of   the   risks    of   EtO


exposure ""despite being in a position of superior knowledge with

regard to these facts."        (Id.)



                                            27
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 29
                                                              28 of 35
                                                                    34



       To establish wil[l]ful and wanton conduct, a claimant
       must demonstrate that the defendant engaged in ''conduct
       such as to evidence a wil[l]ful intention to inflict the
       injury, or else was so reckless or so charged with
       indifference to the consequences as to justify the jury
       in finding a wantonness equivalent in spirit to actual
       intent."


Watson Used Cars, LLC v. Kirkland, 805 S.E.2d 920, 923 (Ga. Ct.

App. 2017).       Defendant argues Plaintiff's claim for willful and

wanton misconduct fails for the same reasons as her negligence

claim, and that Plaintiff has not pled facts alleging its acts

were   "so    reckless        or    so     charged      with   indifference         to   the

consequences as to justify a finding of wantonness equivalent in

spirit to actual intent."                 (Doc. 10, at 22 (citing McNeal Loftis

V. Helmey, 462 S.E.2d 789, 790 (Ga. Ct. App. 1995)).)                           Plaintiff

counterargues that her "allegations that Defendant discharged vast

amounts   of EtO       in    an   area    where      Plaintiff[] lived        and   worked,

despite wide-spread knowledge at the time that EtO was dangerous

to humans, raises a plausible inference that Defendant acted with

conscious or reckless indifference to the                          consequences of its

actions."    (Doc. 23, at 16.)             She cites to Letart v. Union Carbide

Corp, 461 F. Supp. 3d 391 (S.D. W.Va. 2020), a district court case

from West Virginia that found a defendant's EtO emissions to be

willful and wanton conduct.                (Id.)

       Plaintiff s          allegations         of    "conscious       disregard"        are

insufficient      to    give       rise    to    a   claim   for    willful    or   wanton

misconduct.       In Georgia, a "plaintiff cannot recover unless the



                                                28
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 30
                                                              29 of 35
                                                                    34




defendant's conduct       ^was such to evince a       willful intention to

inflict the injury, or else was so reckless or so charged with

indifference to the consequences as to justify the jury in finding

a wantonness equivalent in spirit to actual intent.'"                Arrington

V. Trammell, 62 S.E.2d 451, 454 (Ga. Ct. App. 1950) (citations

omitted).      Here,   Plaintiff     alleges    Defendant     knew   EtO    was

dangerous, knew of the ""regulatory regime built up around it," and

""nevertheless emitted thousands of pounds of it into the air around

Plaintiff["s] home[]."       (Compl., at 34.)        However, Plaintiff has

failed to allege behavior so egregious that a jury could find it

meets the high bar of ""willful and wanton."           While true Defendant

knew EtO was emitted from its facility, it was permitted to do so

by law.    (Doc. 10, at 23.)    For Plaintiff's allegations to rise to

the level of willful or wanton, she would have had to plead that

Defendant acted    with    so much     indifference   it is equivalent in

spirit to actual intent, and she failed to do so.              As Defendant

correctly points out, Plaintiff failed to allege that Defendant

knew the use of EtO at its facility would result in Plaintiff's

harm.     (Doc. 31, at 21.)     Furthermore, there are no allegations

that Defendant should have known it would cause harm to Plaintiff


- the only allegations are that dangers exist with EtO, Defendant

nevertheless    emitted    it   into    the   air,    and   failed   to    warn

Plaintiffs.    This is insufficient to allege a claim for willful or

wanton conduct under Georgia law and thus this claim is dismissed.



                                       29
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 31
                                                              30 of 35
                                                                    34



               c. Private Nuisance


       Next,      Plaintiff       makes a    private      nuisance      claim, alleging

''Defendant's        emissions       of     carcinogenic         EtO    interfere      with

Plaintiff['s] enjoyment of property and cause hurt, inconvenience,

or damage to Plaintiff[], including [her] ability to breathe air

free    of    a    carcinogenic      toxin    in    the    air    on    [her]    property.

{Compl., at 35-36.)              Defendant argues Plaintiff failed to state a

claim for private nuisance because "a nuisance claim cannot be

predicated on an act authorized by and performed in accordance

with the law."             (Doc. 10, at 23.)            Defendant asserts Plaintiff

fails    to       allege    it    "violated       its    permit,       i.e.,    its   legal

authorization for EtO emissions, [therefore] the nuisance claim

must fail."          (Id.)       In response. Plaintiff argues the Georgia

Supreme Court has rejected Defendant's argument, finding "state

environmental laws do not attempt to alter general rules of law

with regard to private nuisances and will not impede a private

individual in an action to enjoin a nuisance."                         (Doc. 23, at 16-

17 (quoting Superior Farm Mqmt., L.L.C. v. Montgomery, 513 S.E.2d

215, 218 (Ga. 1999)) (alterations adopted).)                       Further, Defendant

argues "the hallmark of a nuisance claim is some invasion of the

plaintiff's interest in land."               (Doc. 31, at 21 (quoting Blondell

V. Courtney Station, 865 S.E.2d 589, 601 (Ga. Ct. App. 2021).)                          It

asserts that Georgia law does not recognize any right to breathe




                                             30
     Case 1:21-cv-00112-JRH-BKE
          1:23-mi-99999-UNA Document
                                Document
                                     1124-3
                                         37 Filed 04/11/23
                                                  09/23/22 Page 32
                                                                31 of 35
                                                                      34




air free from carcinogens and Plaintiff has not provided any other

allegation of injury to her real property.                    (Id. at 22.)

       In   Georgia,     ^'[a]    nuisance      is   anything       that   causes     hurt,

inconvenience, or damage to another and the fact that the act may

otherwise be lawful shall not keep it from being a nuisance." City

of Douglasville v. Queen, 514 S.E.2d 195, 199 (Ga. 1999) (citing

O.C.G.A. § 48-1-1).         ''That which the law authorizes to be done, if

done as the law authorizes, cannot be a nuisance. . . . Thus, where

the   act is lawful in           itself, it becomes a              nuisance    only    when

conducted in an illegal manner to the hurt, inconvenience or damage

of another."        Id. (citing Mayor & C. of Savannah v. Palmerio, 249

S.E.2d 224 (Ga. 1978)).           "[WJhile a physical invasion is generally

necessary, noise, odors and smoke which impair the landowners'

enjoyment of his property are also actionable nuisances, if, and

only if, a partial condemnation of the property results."                            Jordan

V.    Ga.   Power    Co.,   466     S.E.2d      601,    606   (Ga.    Ct.     App.    1995)

(citations omitted).

       First, there are no allegations Defendant is in violation of

any    statute      or   common     law   duty;        in   fact,    the    law   permits

Defendant's EtO emissions through a permitting process and there

are   no allegations its emissions               were conducted in            an illegal

manner.       Although      Plaintiff      draws       the    Court's      attention    to

Defendant's AAC levels being higher than recommended, there is no

allegation     this      violates    a    Georgia       law   or    common    law     duty.



                                           31
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 33
                                                              32 of 35
                                                                    34



Further, Defendant asserts the AAC is not a regulatory limit, but

only a guideline used by the Georgia Environmental Protection

Division for permit applications.                   (Doc. 10, at 13.)       Second,

Plaintiff has failed to allege any condemnation to her property.

While she alleges the EtO "invaded and contaminated the areas

surrounding [Defendant's] facility" and impeded on her right to

breathe clean air, she offers nothing more to state a claim for

nuisance or the enjoyment of her property.                      As outlined above,

this   is   insufficient    to   state     a    claim     for    private   nuisance;

therefore. Plaintiff's claim fails as a matter of law.

             d. Ultrahazardous Activity and Strict Liability

       Finally,    Plaintiff     asserts        a    claim      for   ultrahazardous

activity     and   strict   liability,         claiming      Defendant's    use    and

emission of EtO constitutes an ultrahazardous activity, EtO will

always be inherently dangerous, the activities are dangerous and

offer little to no value to the surrounding community, and because

its activities are ultrahazardous. Defendant is strictly liable

for injuries proximately resulting therefrom.                   (Compl., at 37-38.)

Defendant moves to dismiss this claim because "Georgia has only

found a few activities, none of which are analogous to emitting

EtO, that are inherently dangerous to justify strict liability."

(Doc. 10, at 24.)      Further, it argues Plaintiffs must identify a

statute     that establishes strict liability because there                   is   no

common law strict liability in Georgia.                (Id.)     Finally, Defendant



                                      32
   Case 1:21-cv-00112-JRH-BKE
        1:23-mi-99999-UNA Document
                              Document
                                   1124-3
                                       37 Filed 04/11/23
                                                09/23/22 Page 34
                                                              33 of 35
                                                                    34




argues emitting EtO within government limits is not inherently

dangerous as a matter of law.     (Id. at 25.)   In response, Plaintiff

agrees Georgia has only found a few activities that justify strict

liability but argues ""there is nothing in applicable precedent

either expressly or implicitly limiting the doctrine of strict

liability for abnormally dangerous activities to those activities

that have historically been recognized as such."         (Doc. 23, at 18

(quoting Parker v. Brush Wellman, Inc., 377 F. Supp. 2d 1290, 1303

(N.D. Ga. 2005), aff^d sub nom, 230 F. App'x 878 (11th Cir. 2007))

(alterations adopted).)     Plaintiff argues this is a question for

a jury, and thus should not be decided as a matter of law.               (Id.

at 19.)      In rebuttal. Defendant again argues Plaintiff's claim

fails because she does not identify a statute establishing strict

liability.    (Doc. 31, at 24-25.)

     ""In Georgia there is no common law cause of action for strict

liability in tort."    Watkins v. Barber-Colman Co., Inc., 625 F.2d

714, 716 (5th Cir. 1980) (citing Wansor v. George Hantsho Co., 252

S.E.2d 623 (1979)).    Therefore, a cause of action must be based on

a statute codified by the Georgia Code.      See id.; see also Stiltjes

V. Ridco Exterminating Co., 343 S.E.2d 715, 717 (Ga. Ct. App.

1986), superseded in part by Stiltjes v. Ridco Exterminating Co.,

350 S.E.2d 856 (Ga. Ct. App. 1986).      Defendant therefore correctly

argues Plaintiff has failed to provide a statute upon which she




                                    33
     Case 1:21-cv-00112-JRH-BKE
          1:23-mi-99999-UNA Document
                                Document
                                     1124-3
                                         37 Filed 04/11/23
                                                  09/23/22 Page 35
                                                                34 of 35
                                                                      34




bases her strict liability claim; thus, it fails as a matter of

law.




                               IV. CONCLUSION


       For   the   foregoing   reasons,    IT   IS    HEREBY   ORDERED     that

Defendant's motion to dismiss (Doc. 10) is GRANTED and this matter

is   DISMISSED.      Specifically,     Plaintiffs     Watkins,    Kelly,    and

Armstrong's claims are dismissed with prejudice and all the other

Plaintiffs' claims are dismissed without prejudice.              The Clerk is

DIRECTED to TERMINATE all pending motions and deadlines, if any,

and CLOSE this case.                                                 _


       ORDER   ENTERED   at    Augusta,    Georgia,    this          day     of

September, 2022.



                                    J. RAMDM. HALL, CHIEF JUDGE
                                    UNITED STATES     DISTRICT   COURT
                                    SOUTHED DISTRICT OF GEORGIA




                                      34
